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  Attorneys for Josias N. Dewey, Court-Appointed
  Temporary Receiver

                       IN THE UNITED STATES DISTRICT COURT
                       DISTRICT OF UTAH, NORTHERN DIVISION

   SECURITIES AND EXCHANGE                         DECLARATION OF JASON A.
   COMMISSION,                                     MCNEILL IN SUPPORT OF
                                                   RECEIVER’S APPLICATION FOR
          Plaintiff,
                                                   ATTORNEY FEES AND COSTS
   v.
   DIGITAL LICENSING INC. (d/b/a
   “DEBT Box”), a Wyoming corporation;
   JASON R. ANDERSON, an individual;
   JACOB S. ANDERSON, an individual;               Case No. 2:23-cv-00482-RJS
   SCHAD E. BRANNON, an individual;
   ROYDON B. NELSON, an individual;                Judge Robert J. Shelby
   JAMES E. FRANKLIN, an individual;               Magistrate Judge Dustin B. Pead
   WESTERN OIL EXPLORATION
   COMPANY, INC., a Nevada corporation;
   RYAN BOWEN, an individual; IX
   GLOBAL, LLC, a Utah limited liability
   company; JOSEPH A. MARTINEZ, an
   individual; BENJAMIN F. DANIELS, an
   individual; MARK W. SCHULER, an
   individual; B & B INVESTMENT
   GROUP, LLC (d/b/a “CORE 1
   CRYPTO”), a Utah limited liability
   company; TRAVIS A. FLAHERTY, an
   individual; ALTON O. PARKER, an
   individual; BW HOLDINGS, LLC (d/b/a
   the “FAIR PROJECT”), a Utah limited
   liability company; BRENDAN J.
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   STANGIS, an individual; and MATTHEW
   D. FRITZSCHE, an individual,
           Defendants,

   ARCHER DRILLING, LLC, a Wyoming
   limited liability company; BUSINESS
   FUNDING SOLUTIONS, LLC, a Utah
   limited liability company; BLOX
   LENDING, LLC, a Utah limited liability
   company; CALMFRITZ HOLDINGS,
   LLC, a Utah limited liability company;
   CALMES & CO, INC., a Utah
   corporation; FLAHERTY
   ENTERPRISES, LLC, an Arizona limited
   liability company; IX VENTURES FZCO,
   a United Arab Emirates company; PURDY
   OIL, LLC, a Nebraska limited liability
   company; THE GOLD COLLECTIVE
   LLC, a Utah limited liability company; and
   UIU HOLDINGS, LLC, a Delaware
   limited liability company,

           Relief Defendants.

         The undersigned, Jason A. McNeill, hereby declares and swears as follows, pursuant to

  Utah Code section 78B-18a-104.

         1.      I am over twenty-one years of age and have personal knowledge of the facts in

  this declaration (the “Declaration”). If asked to testify, I would and could testify as to the

  matters set forth herein.

         2.      I am a managing partner at the law firm McNeill Von Maack, LLC (“MVM”) and

  am counsel of record for the court-appointed temporary receiver Josias N. Dewey (“Receiver”)

  in the above-captioned matter. At all times relevant, MVM served in the capacity as local

  counsel for the Receiver. In managing this law firm and personally performing the legal work

  performed by MVM, I have personal knowledge regarding the below.
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       THE ATTRNEY FEES CHARGED WERE REASONABLE AND NECESSARY

         3.       On July 28, 2023, the Court entered a Temporary Receivership Order

  (“Receivership Order”) wherein the Cout appointed the Receiver and granted him various

  authority and instructions to, among other things, collect and take custody of assets, assume

  control over defendant Digital Licensing, Inc., conduct investigations and discovery, and other

  actions articulated in the Court’s Receivership Order.

         4.       Upon such appointment, the Receiver engaged me and Mr. Schnibbe of MVM to

  assist the Receiver in this matter.

         5.       To accomplish the legal work required to fulfill such obligations as Receiver,

  MVM performed legal work between July 28, 2023 and October 6, 2023.

         6.       The lawyers performing work on this matter include myself, with twenty-two (22)

  years of legal experience 1, and Eric Schnibbe, who has twenty-six (26) years of legal

  experience 2.

         7.       The legal work that I performed in this matter was charged at the hourly rate of

  $455. The legal work performed by Mr. Schnibbe was at the hourly rate of $435 per hour.

                                        Background and Experience

         8.       I was admitted to practice in Nevada in 2002, and in Utah in 2004. I am a co-

  founder and partner at MVM and a member in good standing of the Utah State Bar and State Bar

  of Nevada. I maintain an AV Preeminent® peer-review rating and a Preeminent® client-review



         1
             https://www.mvmlegal.com/jason-a-mcneill
         2
             https://www.mvmlegal.com/eric-k-schnibbe
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  rating by Martindale-Hubbell®. MVM and I are ranked in Chambers USA® in Litigation:

  General Commercial. I am consistently included on the lists of Super Lawyers® and Legal

  Elite®. Prior to co-founding MVM in early 2018, I was partner at Magleby, Cataxinos &

  Greenwood, P.C.

         9.      My practice has focused on complex commercial litigation, and includes

  substantial experience in federal and state courts located in numerous jurisdictions around the

  country. I have also obtained numerous favorable results through trials, arbitration, motion

  practice and settlement.

         10.     Eric K. Schnibbe is an attorney licensed to practice in Utah and Nevada. Mr.

  Schnibbe has been practicing law since 1998.

         11.     Mr. Schnibbe’s practice likewise focuses on complex commercial litigation and

  appeals, and includes substantial litigation experience in state and federal courts.

         12.     Mr. Schnibbe maintains an AV Preeminent® peer-review rating by Martindale-

  Hubbell®, and is consistently included on the lists of Super Lawyers® and Legal Elite®.

         13.     In 1999, Mr. Schnibbe obtained his juris doctorate from the University of Utah

  S.J. Quinney College of Law, where he was an editor for the Utah Law Review. In 1996, Mr.

  Schnibbe received a bachelor’s degree in political science from the University of Utah.

  Following graduation, Mr. Schnibbe served two judicial clerkships with the Utah Court of

  Appeals. Mr. Schnibbe has likewise obtained numerous favorable results, including in 2016

  when, serving as co-counsel in a five-week jury trial, helped his client obtain a $133 million jury

  verdict for theft of trade secret and breach of fiduciary duty case ultimately affirmed by the Utah

  Supreme Court.
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         14.     Based on my litigation experience of the past 22 years, I have knowledge of

  working with other lawyers and learning of the hourly rates customarily charged in this location

  for this kind of legal work. The number of hours spent on this matter and the hourly rates MVM

  charged in this matter are reasonable and customary in Utah for the legal work provided.

     The Receiver Incurred Reasonable Attorney Fees, Costs, and Expenses in this Action

         15.     All legal work and resulting legal fees, costs, and expenses incurred by the

  Receiver are set forth in detail in MVM’s legal invoices.

         16.     In this matter, MVM issued four total invoices for its representation of the

  Receiver, summarized as follows:

   Date of Invoice     Invoice Number       Attorney Fees       Costs               Expenses

   8-4-2023            018400               $1,020.50           $40.82              $0

   9-05-2023           018515               $1,289.50           $51.58              $150

   10-05-2023          018561               $12,154.00          $486.16             $25.20

   11-05-2023          018635               $3.338.50           $133.54             $0

   Totals                                   17,802.50           $712.10             $175.20



   Attorney                                         Total Hours Spent

   Jason A. McNeill                                 31.0

   Eric K. Schnibbe                                 8.5



         17.     True and correct copies of the MVM’s monthly invoices reflecting the legal work

  done are attached as Exhibit F-3 to the Application (with bank account number redacted).
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         18.     As reflected in the monthly MVM invoices, each attorney working on this case

  kept contemporaneous individual time records describing the legal work performed, the date the

  work was performed, the lawyer who performed the work, the rate charged, and the amount

  incurred. Time was kept in one-tenth of an hour, or six-minute, increments (i.e., 0.1

  increments).

         19.     The legal fees incurred in connection with this matter included legal work related

  to drafting and filing all appropriate notices of appearance and pro hac vice applications for

  MVM and Receiver’s lead counsel, Ms. Magee, Mr. Mascianica and Mr. Balthazor with the law

  firm Holland & Knight; legal work related to assisting lead counsel in complying with local rules

  and local practices before the court; legal work in researching case law and drafting edits and

  amendments to the various legal memoranda and status reports submitted by the Receiver in

  connection with responding to various motions filed by Defendants as well as his own required

  submissions; evaluating substantive motions pertaining to the Receiver; assisting lead counsel in

  preparing for hearings and oral arguments before the Court; engaging in various correspondence

  and telephone calls regarding Receiver’s court-filings, next steps, and division of labor;

  facilitating the finalizing and submission of filings with the Court.

         20.     As reflected above, the total attorney fees incurred by Receiver for MVM’s legal

  work rendered was $17,802.50.

         21.     These legal fees charged by MVM are reasonable in light of the complexity,

  difficulty and contentiousness of the litigation; the expertise and experience of the lawyers

  involved; the efficiency of our preparation and presentation of the motions and related materials;
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  the number of hours spent on this case and in seeking to advise the client in the responsibilities

  appointed to the Receiver.

         22.      In addition to attorney fees, the Receiver incurred costs and expenses associated

  with pursuing this matter. Expenses included the filing fees for Pro Hac Vice applications and

  court-transcript, and the costs include the internal litigation costs calculated contractually as a

  4% flat fee. The flat fee covers MVM’s items such as telephone charges, postage, photocopy

  charges, etc. For expenses, the Receiver incurred $175.20 and for costs the Receiver incurred

  $712.10 in this matter.

         23.      Therefore, in total, the Receiver has incurred $18,689.80 (the sum of $17,802.50

  in fees plus $175.20 in expenses plus $712.10 in costs) with MVM for reasonable and necessary

  legal representation in this matter.

                    Certification of Compliance with SEC Billing Instructions

         24.      I have read the application for attorney fees that seeks payment of legal fees, costs

  and expenses.

         25.      To the best of my knowledge, information and belief formed after reasonable

  inquiry, the application and all fees and expenses therein are true and accurate and comply with

  the Billing Instructions.

         26.      The fees contained in the application are based on the rates listed above, and such

  fees are reasonable, necessary and commensurate with the skill and experience required for the

  activity performed.

         27.      I have not included in the amount for which reimbursement is sought the

  amortization of the cost of any investment, equipment, or capital outlay.
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         28.     In seeking reimbursement for a service which MVM has justifiably purchased or

  contracted for from a third party, MVM requests reimbursement only for the amount billed to

  MVM by the third-party vendor and paid by MVM to such vendor.



  I declare under criminal penalty under the law of Utah that the foregoing is true and correct.



         DATED this 16th day of April, 2024. Entered in Salt Lake County, Utah.



                                               MCNEILL | VON MAACK


                                               /s/ Jason A. McNeill
                                               Jason A. McNeill
